Case 2:18-cv-11450-LJM-MKM ECF No. 30 filed 08/20/18                              PageID.1182          Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

 MICHAEL WELCH,

            Plaintiff,                                       Case No. 18-11450
                                                             Honorable Laurie J. Michelson
 v.                                                          Magistrate Mona K. Majzoub

 CITY OF MELVINDALE, et al

            Defendant.


        CASE MANAGEMENT REQUIREMENTS AND SCHEDULING ORDER


       This civil case having come before the Court pursuant to Federal Rule of Civil Procedure
16 and the parties having submitted a proposed discovery plan, the Court enters the following
schedule to manage the progress of the case:

                         EVENT1                                                DEADLINE
 Witness Lists Filed                                      September 28, 2018
 Interim Status Conference2                               October 29, 2018 at 3:30 p.m.
 Discovery Cutoff                                         December 21, 2018
 Dispositive Motions                                      March 25, 2019
 Motions in Limine                                        TBD
 Joint Proposed Final Pretrial Order (and TBD
 pretrial submissions) (See § 11)
 Final Pretrial Conference                                TBD
 Jury Trial                                               TBD
 Estimated Length of Trial                                TBD




        1
           For any events not listed on the Scheduling Order, please refer to Federal Rule of Civil Procedure 26.
        2
           To participate in the conference, dial into the Eastern District of Michigan’s telephone conference system
at (866) 434-5269. The system will then provide directions for joining the call; when asked for an access code, use
9819334. If possible, please refrain from participating in the conference on a cell phone.
